                                    United States District Court
                                   Southern District of New York

Virginia L. Giuffre,
       Plaintiff,


                                                Case No.: 15-cv-07433-RWS

v.

Ghislaine Maxwell,

      Defendant.
____________________________/

        DECLARATION OF MEREDITH SCHULTZ IN SUPPORT OF PLAINTIFF’S
     REPLY IN SUPPORT OF MOTION TO REOPEN DEFENDANT’S DEPOSITION
          BASED ON LATE PRODUCTION OF NEW, KEY DOCUMENTS


          I, Meredith Schultz, declare that the below is true and correct to the best of my

knowledge as follows:

     1.          I am an associate with the law firm of Boies, Schiller & Flexner LLP and duly

licensed to practice in Florida and before this Court pursuant to this Court’s Order granting my

Application to Appear Pro Hac Vice.

     2.          I respectfully submit this Declaration in Support of Plaintiff’s Reply In Support of

Motion to Reopen Defendant’s Deposition Based on Late Production of New, Key Documents.

     3.          Attached hereto as Sealed Exhibit 1 is a true and correct copy of Excerpts from

May 18, 2016, Deposition of Johanna Sjoberg.



               I declare under penalty of perjury that the foregoing is true and correct.


                                                /s/ Meredith Schultz
                                                Meredith Schultz, Esq.


                                                   1
Dated: October 28, 2016.


                                                Respectfully Submitted,
                                                BOIES, SCHILLER & FLEXNER LLP

                                                 By: /s/ Meredith Schultz
                                                 Sigrid S. McCawley(Pro Hac Vice)
                                                 Meredith Schultz (Pro Hac Vice)
                                                 Boies Schiller & Flexner LLP
                                                 401 E. Las Olas Blvd., Suite 1200
                                                 Ft. Lauderdale, FL 33301
                                                 (954) 356-0011

                                                 David Boies
                                                 Boies Schiller & Flexner LLP
                                                 333 Main Street
                                                 Armonk, NY 10504

                                                 Bradley J. Edwards (Pro Hac Vice)
                                                 FARMER, JAFFE, WEISSING,
                                                 EDWARDS, FISTOS & LEHRMAN, P.L.
                                                 425 North Andrews Avenue, Suite 2
                                                 Fort Lauderdale, Florida 33301
                                                  (954) 524-2820

                                                 Paul G. Cassell (Pro Hac Vice)
                                                 S.J. Quinney College of Law
                                                 University of Utah
                                                 383 University St.
                                                 Salt Lake City, UT 84112
                                                 (801) 585-52021




1
 This daytime business address is provided for identification and correspondence purposes only and is
not intended to imply institutional endorsement by the University of Utah for this private representation.



                                                    2
                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on the 28th day of October, 2016, I electronically filed the

foregoing document with the Clerk of Court by using the CM/ECF system. I also certify that the

foregoing document is being served to all parties of record via transmission of the Electronic

Court Filing System generated by CM/ECF.



Laura A. Menninger, Esq.
Jeffrey Pagliuca, Esq.
HADDON, MORGAN & FOREMAN, P.C.
150 East 10th Avenue
Denver, Colorado 80203
Tel: (303) 831-7364
Fax: (303) 832-2628
Email: lmenninger@hmflaw.com
        jpagliuca@hmflaw.com




                                                     /s/ Meredith Schultz
                                                         Meredith Schultz




                                                3
